 Phone (252) 830-2327
 Fax (252) 830-2793           United States District Court                          Peter A. Moore, Jr.,
                                                                                     Clerk of Court
                                  Office of the Clerk
                                  201 SOUTH EVANS STREET
                                    GREENVILLE, NC 27858
May 14, 2018

RE: Grant McKee v. Audible, Inc., et al
    5:18-CV-211-D

Notice to Parties Regarding Transfer of Case to the Eastern District of North Carolina

TO: PARTIES OF RECORD:

The above-captioned case was transferred to our court from the Central District of California,
and was received in our office on May 11, 2018. The case has been assigned to the Chief
Honorable United States District Judge James C. Dever, III.

Pursuant to Local Civil Rule 83.1(e), EDNC, attorneys who are members in good standing of the
bar of a United States District Court and the bar of the highest court of any state or the District of
Columbia may practice in this court for a particular case in association with a member of the bar
of this court who appears in accordance with Local Civil Rule 83.1(d), EDNC.

The Eastern District of North Carolina requires all counsel to file electronically in CM/ECF.
Special appearance attorneys who comply with Local Civil Rule 83.1(e), EDNC may obtain a
CM/ECF login and password, and file documents electronically. The Electronic Filing Attorney
Registration Form, along with the local rules and policies of the Eastern District of North
Carolina, can be found on the court’s website, www.nced.uscourt.gov

Sincerely,

Peter A. Moore, Jr., CLERK OF COURT


(By) /s/Donna Rudd
    Deputy Clerk




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